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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

JOSEPH FALCONE, individually and on behalf
of similarly situated employees, and JASON EVERS,
individually and on behalf of similarly situated employees,

               Plaintiffs,
vs.                                                 Case No.:

TOP 1 PERCENT COACHING, LLC, a Florida
limited liability company, and JUSTIN T. FOXX,
individually.

            Defendants.
__________________________________________/

                             COLLECTIVE ACTION COMPLAINT

         COME NOW the Plaintiffs, JOSEPH FALCONE, individually and on behalf of similarly

situated employees (“Falcone”) and JASON EVERS, individually and on behalf of similarly

situated employees (“Evers”), and hereby sue the Defendants, TOP 1 PERCENT COACHING,

LLC, a Florida limited liability company (“Top 1%”) and JUSTIN T. FOXX (“Foxx”) as

follows:

         1.    Congress designed the Fair Labor Standards Act of 1938 (“FLSA”) to remedy

situations “detrimental to the maintenance of the minimum standard of living necessary for health,

efficiency, and general well-being of workers.” 29 U.S.C. § 202(a). To achieve this broad

remedial purpose, the FLSA establishes minimum wage and overtime requirements for covered

employees. 29 U.S.C. §§ 206, 207. These provisions, coupled with an effective integrated cause

of action within the FLSA, prevent employers from pilfering the wages rightfully earned by their

employees. See, Billingsley v. Citi Trends, Inc., 13-12561, 2014 WL 1199501 (11th Cir. Mar. 25,

2014).
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       2.      This case implicates Top 1%, a business that sells wealth coaching and consulting

services throughout the world.

       3.      Foxx is the managing member and CEO of Top 1%, and together, Foxx and Top

1% shall be referred to as “Defendants.”

       4.      Defendants have a long-standing policy of misclassifying their employees as

independent contractors.

       5.      Defendants required and/or permitted Plaintiffs to work as wealth coaches for up

to and in excess of forty (40) hours per week but refused to compensate them at the applicable

wage and overtime rate.

       6.      Defendants refused and/or failed to compensate Plaintiffs a wage, failed to pay

Plaintiffs on a salary basis, and failed to pay Plaintiffs for overtime hours they worked for the three

years leading up to this Complaint.

       7.      Defendants’ conduct violates the FLSA, which requires non-exempt employees,

such as Plaintiffs, to be compensated for the overtime hours they work at a rate of one and one-

half times their regular rate of pay. See 29 U.S.C. § 207(a).

       8.      Furthermore, Defendants’ practice of failing to pay employees pursuant to 29

U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. §§ 203, 206.

      9.       Plaintiffs bring a collective action to recover the unpaid wages owed to them and

all other similarly situated employees who are current and former coaches for Defendants who

worked for Defendants at any time during the three year period before this Complaint is filed in

this action, up to the present (“FLSA Members”).
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      10.      These FLSA Members should be informed of the pendency of this action and

apprised of their rights to join in the manner envisioned by Hoffman-La Roche Inc. v. Sperling,

493 U.S. 165 (1989) and its progeny.

                     SUBJECT MATTER JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter of this action under 29 U.S.C. §

216(b) and 28 U.S.C. § 1331.

       12.     This Court has the authority to grant declaratory relief pursuant to the FLSA and

the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. §§ 2201-02.

       13.     Venue is proper in the Middle District of Florida because a substantial portion of

the events forming the basis of this suit occurred in this District as the Defendants’ residence and

principle place of business are located in this District in Lee County, Florida.

                        PARTIES AND PERSONAL JURISDICTION

       14.     Falcone is an individual residing in Lee County, Florida.

       15.     Evers is an individual residing in Lee County, Florida.

       16.     The FLSA Members are any wealth coaches who worked for the Defendants during

the past three years through a final judgment in this matter, and who filed a consent to join this

collective action.

       17.     Top 1% is a domestic limited liability company doing business in Florida for the

purpose of accumulating monetary profit and has its principle place of business in Lee County,

Florida.

       18.     Foxx is an individual who is a resident of Lee County, Florida.
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  ALLEGATIONS RELEVANT TO COUNTS I AND II FOR FLSA VIOLATIONS

19. Plaintiffs and FSLA Members are employees as defined by the FLSA.

20. Defendants have utilized contracts and other mechanisms by which to control the manner

   in which the Plaintiffs and FLSA Members perform their duties for the Defendants.

21. Defendants required the Plaintiffs and FLSA Members to coach only the Defendants’

   students, and also appointed certain students to each coach, thereby controlling which

   students the Plaintiffs and FLSA Members were permitted to coach.

22. Defendants prohibited the Plaintiffs and FLSA Members from coaching for other

   organizations.

23. Defendants controlled the manner in which the Plaintiffs and FLSA Members coached the

   Defendants’ students.

24. Defendants controlled the materials the Plaintiffs and FLSA Members used to coach the

   Defendants’ students.

25. Defendants controlled the time and place wherein the Plaintiffs and FLSA Members could

   coach the Defendants’ students.

26. Defendants controlled when, where and how the Plaintiffs and FLSA Members interacted

   with the Defendants’ students outside of their coaching sessions.

27. Defendants required the Plaintiffs and FLSA Members to consent to have their coaching

   sessions audio/video recorded to ensure the Plaintiffs and FLSA Members were complying

   with the Defendants’ rules and requirements.

28. Defendants controlled how the Plaintiffs and FLSA Members behaved while working with

   the Defendants’ students and while not working.
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29. Defendants required the Plaintiffs and FLSA Members to travel to the Defendants’ events

   in other parts of the nation and world.

30. Defendants required the Plaintiffs and FLSA Members to market and advertise the

   Defendants’ merchandise to Defendants’ current students and potential students.

31. Defendants controlled the fees the Plaintiffs and FLSA Members charged Defendants’

   students.

32. Defendants controlled the records the Plaintiffs and FLSA Members were to keep

   regarding coaching sessions performed.

33. The Plaintiffs and FLSA Members were and are an integral part of the Defendants’

   business.

34. Finally, Defendants control the money paid to the Plaintiffs and FLSA Members as the

   Defendants collect the fees paid by students for coaching sessions, and then pay to the

   Plaintiffs and FLSA Members a portion of the monies Defendants receive for the Coaching

   Sessions.

35. Defendants have improperly treated the Plaintiffs and FLSA Members as independent

   contractors when they should have paid them as employees.

36. While Defendants paid Plaintiffs and FSLA Members commissions on a 10-99 basis, they

   have failed to pay the Plaintiffs and FLSA Members a legal wage and overtime wages as

   employees, and have failed to properly withhold federal income taxes, and social security

   and FICA withholdings in violation of 29 U.S.C.§ 201 et seq.

37. As such, Plaintiffs and FLSA Members are not exempt employees per Section 13(a)(1) of

   the FLSA as they have not been paid on a salary basis.
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38. In a FLSA case, the following elements must be met: “(1) [plaintiff] is employed by the

   defendant, (2) the defendant engaged in interstate commerce, and (3) the defendant failed to

   pay [plaintiff] minimum or overtime wages.” Freeman v. Key Largo Volunteer Fire &

   Rescue Dept., Inc., 494 Fed. Appx. 940, 942 (11th Cir. 2012) cert. denied, 134 S. Ct. 62,

   (U.S. 2013).

39. “To be ‘employed’ includes when an employer ‘suffer[s] or permit[s] [the employee] to

   work.’” Id. at 942 (citing 29 U.S.C. § 203(g)). “To determine if an individual is an employee,

   ‘we look at the economic reality of all the circumstances’ surrounding the activity.” Id.

   (citing Brouwer, 139 F.3d at 819). “We refer to this test as the ‘economic reality’ test.” Id.

   (citing Villarreal v. Woodham, 113 F.3d 202, 205 (11th Cir.1997)). “The touchstone of the

   economic reality test is the alleged employee's economic dependence on the employer.” Id.

40. As mentioned above, Defendants controlled all aspects of the services provided by the

   Plaintiffs and FLSA Members and also controlled the monies paid to the Collective

   Plaintiffs by determining the fees to be charged by the Plaintiffs and FLSA Members,

   collecting those fees, and then disbursing a portion of such fees back to the Plaintiffs and

   FLSA Members.

41. At all material times, the Plaintiffs and FLSA Members were individual employees pursuant

   to 29 USC § 206-207.

42. At all material times, Defendants have been employers within the meaning of § 3(d) of the

   FLSA. 29 U.S.C. § 203(d).

43. Moreover, the Fair Labor Standards Act (“FLSA”) defines the term “employer” broadly to

   include “any person acting directly or indirectly in the interest of an employer in relation to

   any employee.” 29 U.S.C. § 203(d).
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44. The statutory definition of “employer” includes corporate officers, participating

   shareholders, supervisors, managers, or other employees where that individual exercises

   some supervisory authority over employees and is responsible in whole or in part for the

   alleged violation. See id.; Reich v. Circle C. Investments, Inc., 998 F.2d 324, 329 (5th Cir.

   1993); Donovan v. Grim Hotel Co., 747 F.2d 966, 971-72 (5th Cir. 1984).

45. Foxx is the majority interest holder, managing member and CEO for Top 1% and is

   responsible for the day to day management of Top 1%, including the making of decisions

   of how to compensate and classify the Plaintiffs and FLSA Members.

46. Foxx is involved in the day-to-day business operation of Top 1%.

47. Defendants have responsibility for the supervision of the Plaintiffs and FLSA Members.

48. Foxx is responsible for decisions related to the compensation or lack thereof paid to

   Falcone, Evers and the Plaintiffs and FLSA Members.

49. Foxx has the authority to hire and fire employees, the authority to direct and supervise the

   work of employees, the authority to sign on the business's checking accounts, including

   payroll accounts, and the authority to make decisions regarding employee compensation

   and capital expenditures.

50. Foxx controlls the nature, pay structure, and employment relationship of the Plaintiffs and

   FLSA Members.

51. As such, Top 1% and Foxx are the employers of the Plaintiffs and FLSA Members within

   the meaning of § 3(d) of the FLSA, and are jointly and severally liable for all damages.

52. “To qualify for enterprise coverage, Defendants must ‘ha[ve] employees engaged in

   commerce or in the production of goods for commerce, or [ ] ha[ve] employees handling,

   selling, or otherwise working on goods or materials that have been moved in or produced
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   for commerce by any person; and is an enterprise whose annual gross volume of sales made

   or business done is not less than $500,000.’” Id. (citing 29 U.S.C. § 203(s)(1)(A)(i) and

   (ii)). “The phase ‘engaged in commerce’ is interpreted broadly and liberally.” Id. (citing

   Alonso v. Garcia, 147 Fed. Appx. 815, 816 (11th Cir. 2005)).

53. At all material times, Defendants have been an enterprise within the meaning of 3(r) of the

   FLSA. 29 U.S.C. § 203(r).

54. At all material times, Defendants have been an enterprise in commerce or in the production

   of goods for commerce within the meaning of 3(s)(1) of the FLSA because it has had

   employees engaged in commerce. 29 U.S.C. § 203(s)(1).

55. Specifically, Defendants’ employees have sold coaching and consulting services that have

   been moved or sold in interstate commerce to Defendants’ patrons.              Additionally,

   Defendants’ employees, including the Plaintiffs and FLSA Members, have provided services

   and handled materials that have been moved or produced in interstate commerce and were

   used in the course of Defendants’ business operations.

56. Defendants advertise on the internet, and through pod casts that are broadcast worldwide,

   process credit cards from out of state patrons, communicate via mail, email, and telephone

   with patrons outside of the state of Florida, and sell their merchandise and services across

   state lines and in other countries.

57. Defendants have had, and continue to have, an annual gross business volume in excess of the

   statutory standard.

58. The Plaintiffs and FLSA Members are not exempt from the overtime and minimum wage

   requirements under the FLSA.
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59. Defendants’ decision to treat the Plaintiffs and FLSA Members as independent contractors

   as opposed to employees was willful and not based upon a good faith basis that such

   decisions were in compliance with the FLSA, therefore the Plaintiffs and FLSA Members

   are seeking liquidated damages required by the FLSA.

60. The Plaintiffs and FLSA Members have retained undersigned counsel to prosecute these

   claims and seek reimbursement for same pursuant to the FLSA.

                       COUNT I: VIOLATION OF 29 U.S.C. § 206

61. The Plaintiffs and FLSA Members re-allege and re-aver the allegations in paragraphs 1

   through 60 as if fully set forth herein.

62. Defendants failed to compensate Falcone, Evers, and the FLSA Members for work they

   performed during the last three years in violation of 29 U.S.C. § 206.

63. The violation by Defendants has resulted in damages to Falcone, Evers, and the FLSA

   Members.

  WHEREFORE, Falcone, Evers and the FLSA Members seek the following relief:

             a. Designation of this action as a collective action on behalf of the Plaintiffs and FLSA

                 Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                 similarly situated members of an FLSA Opt-In Class, appraising them of the

                 pendency of this action, permitting them to assert timely FLSA claims in this action

                 by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b) and appointing

                 Plaintiffs and their counsel to represent the Collective Action members;

             b. Declaration, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and practices

                 complained of herein are in violation of the maximum hour and minimum wage

                 provisions of the FLSA;
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              c. Overtime compensation for all hours worked over forty in a workweek at the

                  applicable rate of time-and-a-half;

              d. All unpaid wages and overtime compensation due under the FLSA;

              e. All liquidated damages due under the FLSA;

              f. Reasonable attorney’s fees, costs and expenses of this action as provided by the

                  FLSA; and

              g. Such other relief to which Plaintiffs and Class Members may be entitled, at law

                  or in equity.

                        COUNT II: VIOLATION OF 29 U.S.C. § 207

 64. Falcone, Evers and the FLSA Members re-allege and re-aver the allegations in paragraphs

    1 through 60 as if fully set forth herein.

 65. Defendants required Falcone, Evers and the FLSA Members to work more than forty (40)

    hours per week during the three years prior to the filing of this Complaint, and did not

    compensate them at the FLSA mandated time-and-a-half rate for hours in excess of forty

    (40) per workweek as required by 29 U.S. C. § 207.

 66. Such failure to pay overtime wages is a violation of 29 U.S. C. § 207.

 67. The violation by Defendants has resulted in damages to Falcone, Evers and the FLSA

    Members.

   WHEREFORE, Falcone, Evers and the FLSA Members seek the following relief:

              a. Designation of this action as a collective action on behalf of the Plaintiffs and FLSA

                  Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                  similarly situated members of an FLSA Opt-In Class, appraising them of the

                  pendency of this action, permitting them to assert timely FLSA claims in this action
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                  by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b) and appointing

                  Plaintiffs and their counsel to represent the Collective Action members;

              b. Declaration, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and practices

                  complained of herein are in violation of the maximum hour and minimum wage

                  provisions of the FLSA;

              c. Overtime compensation for all hours worked over forty in a workweek at the

                  applicable time-and-a-half rate;

              d. All unpaid wages and overtime compensation due under the FLSA;

              e. All liquidated damages due under the FLSA;

              f. Reasonable attorney’s fees, costs and expenses of this action as provided by the

                  FLSA; and

              g. Such other relief to which Plaintiffs and Class Members may be entitled, at law

                  or in equity.

   COUNT III: (IN THE ALTERNATIVE) BREACH OF CONTRACT (FALCONE)

 68. Falcone re-alleges and re-avers allegations contained in paragraphs 1 through 60 as if fully

    incorporated herein.

 69. This action is brought by Falcone as an alternative claim to Counts I and II.

 70. Falcone entered into an oral agreement with Defendants wherein Falcone agreed to provide

    business consulting/coaching services for Defendants and Defendants agreed to

    compensate Falcone with a portion of the proceeds paid by the students to Defendants.

 71. Falcone provided such coaching services as directed by Defendants and all conditions

    precedent to their agreement has occurred or been waived.
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 72. Defendants have failed to pay Falcone for the services provided and are in breach of the

    oral agreement.

 73. Falcone has been damaged as a result of the breach by Defendants.

 74. Falcone has retained the services of below-named counsel and has incurred reasonable

    attorney fees and costs in the prosecution of this claim to recover unpaid wages.

 75. Falcone seeks damages and reimbursement of attorney fees pursuant to Fla. Stat. § 448.08.

    WHEREFORE, Falcone demands a judgment against the Defendants for damage,

 reasonable attorney fees, costs and such other relief deemed just and equitable by this Court.

     COUNT IV: (IN THE ALTERNATIVE) BREACH OF CONTRACT (EVERS)

 76. Evers re-alleges and re-avers the allegations in paragraphs 1 through 60 as if fully

    incorporated herein.

 77. This action is brought by Evers as an alternative claim to Counts I and II.

 78. Evers entered into an oral agreement with Defendants wherein Evers agreed to provide

    business consulting/coaching services for Defendants and Defendants agreed to

    compensate Evers with a portion of the proceeds paid by the students to Defendants.

 79. Evers provided such coaching services as directed by Defendants and all conditions

    precedent to their agreement has occurred or been waived.

 80. Defendants have failed to pay Evers for the services provided and are in breach of the oral

    agreement.

 81. Evers has been damaged as a result of the breach by Defendants.

 82. Evers has retained the services of below-named counsel and has incurred reasonable

    attorney fees and costs in the prosecution of this claim to recover unpaid wages.

 83. Evers seeks damages and reimbursement of attorney fees pursuant to Fla. Stat. § 448.08.
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  WHEREFORE, Evers demands a judgment against the Defendants for damage, reasonable

attorney fees, costs and such other relief deemed just and equitable by this Court.

                                          JURY DEMAND

      Falcone and Evers and the FLSA Members demand to have a trial by jury on

all issues wherein a jury trial is permitted.

                                                     /s/ Jack C. Morgan III
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